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communications

* IMPACT + RESULTS

CONFIDENTIAL

 

DATE: Juvy 1, 2019

MEMORANDUM For: JERRY FALWELL, JR.

 

SCOTT LAMB
FROM: MARK SERRANO
Subject: Liberty University Strategic Communications
Oo Urgent &) For Review UO Please Comment x] Please Reply O Please Distribute

 

Based on our recent discussions, | want to thank you for the privilege and opportunity to serve you and
Liberty University in a new strategic communications role to support your mission to Train Champions
for Christ.

Following your best year ever, this is a milestone moment that can be leveraged to further the
extraordinary growth and development of the University as a shining spiritual light in higher education
and in the culture of our nation, which is increasingly under attack. Through our unique services and
programs, we will enhance University Communications in new and innovative ways, leverage the
campus media infrastructure for a growing digital media presence online, and support the objectives of
| the University, including growing your enrollment, brand power, and financial strength in the long term.

Right now, you have an extraordinary opportunity to leverage your national leadership profile and reach
new audiences with authentic messages founded in Christian principles. With our added leadership, we
will capitalize on the advantages Liberty has earned through hard work and the entrepreneurial spirit
instilled in the University since its founding by the late Dr. Falwell.

The proposed top line responsibilities we have discussed include the following components for your
review and final approval.

1. University Strategic Communications
Develop and implement a digital media strategy that profiles University leaders, such as
President Falwell, Dean Dave Brat, and others.
Create a portfolio of video and broadcast content to promote the University mission, engage new
audiences in various demographics, and expand the University’s reach online.
Implement a strategic plan for print and broadcast media placements that inserts Liberty and its
leaders in national discussions about education, policy, entrepreneurship, and more.
Develop message strategies to promote and defend the Liberty and Falwell brands.
Support media strategies that enhance the University’s rapid response operations. DEFENDANT'S

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19415 Deerfield Avenue, Suite 212, Lansdowne, VA 20176
Phone: 571.223.0042 + Fax: 571.223.0052 « www.proactivecammunications.com
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2. Networking and Thought Leadership Programs
- Leverage relationships in Washington, including in the Trump administration and with other

national leaders, to profile Liberty University, President Falwell, Dean Brat, and others.
Identify external communications platforms and events to position the University’s leaders to
promote the Liberty “business model” and its unique mission.
Partner with John Solomon’s potentially forthcoming Center for Media Integrity and Neutrality
through its planning, launch, and ongoing operations for integration in University
Communications programs.
Leverage the Center to profile Liberty University through earned media, thought leader events,
and other strategic communications opportunities.
Recruit content experts and national leaders in policy, business, and other sectors to appear at
Liberty University as Convocation speakers and lecturers.

3. Falkirk Center for Faith and Liberty
‘ Support the development of the new Falkirk Center for a successful launch and operations.
Oversee quality control measures to ensure the Falkirk Center meets defined metrics of success,
organizational efficiency, and proper fiduciary standards.
Design and manage media relations strategies to promote the Center’s messaging.
Oversee media bookings and placements, including print and broadcast.
Deliver operations support for regular planning, reporting, and meetings.
Collaborate with the Advisory Board, University Communications, and staff on all goals.

Finally, as the University Communications function is further developed and enhanced, we will provide
strategic counsel on the primary functions of the department, including:

Content Creation — Apply quality control in all messaging to ensure that is has strategic purpose and
value.

Media Relations — Direct proactive and reactive communications to the news media across all
platforms, legacy and digital.

Digital + Streaming Media — Support the delivery of messages and themes to audiences across
demographics and geographies that will promote the brands, attract prospective students, and
create positive new narratives about Liberty University.

External Relations — Connect with major politica! figures and high-profile influencers to share
messaging that will guide their third-party advocacy for Liberty University.

Media Center — Leverage opinion research, polling, as well as news and anecdotes from all of the
departments and programs, to serve the broader University community as a world-class media
center that promotes news and messages worldwide.

Public Policy — Support programs that address policies affecting Liberty University and Christian
conservatives at the national level, using every opportunity to advocate for Liberty’s interests and
the principles on which the University was founded.

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